Case 2:24-cr-00521-GRB Document18 _ Filed 08/16/24 Page 1 of 2 PagelD #: 81

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
APPLICATION AND ORDER
-against- OF EXCLUDABLE DELAY
JACOB ISRAEL WALDEN 24-MJ-48 1
Defendant.
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The United States of America and the defendant Jacob Israel Walden
hereby jointly request that the time period from 08/15/2024 to 10/15/2024
be excluded in computing the time within which an information or indictment must be filed.
The parties seek the foregoing exclusion of time in order because

xX they are engaged in plea negotiations, which they believe are likely to result in
a disposition of this case without trial, and they require an exclusion of time in order to focus
efforts on plea negotiations without the risk that they would not, despite their diligence, have
reasonable time for effective preparation for trial,

O they need additional time to investigate and prepare for trial due to the
complexity of the case,

C other:
This is the first application for entry of an order of excludable delay. The
defendant was arrested on 07/3 1/2024 re | 08/01/2024
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Lone Sandbar he Ft -
Assistant U.S. Attorney Counsel for Defe. dant

For defendant to read, review with counsel, and acknowledge:

I understand that federal law generally provides that I have a right to have formal
charges lodged against me within thirty days of my arrest and a right to a trial on those
charges within seventy days after formal charges have been lodged. I further understand that
I do not have to consent to the exclusion of time sought in this application and that, by
consenting to entry of this order, the date on which formal charges must be lodged will be
delayed and the date for the commencement of any trial on those charges will likely be
delayed as well. I also understand that if formal charges are not brought against me within
the time required by law, I may seek relief from the court, and that this relief might include
dismissal of the complaint now pending against me.
Case 2:24-cr-00521-GRB Document18 _ Filed 08/16/24 Page 2 of 2 PagelD #: 82

I have reviewed this application, as well as the order annexed below, and have
discussed the question of whether | should consent to entry of an order of excludable delay
carefully with my attorney. I consent to the entry of the order voluntarily and of my own
free will. I have not been threatened or coerced for my consent.

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L2¢ Ah I [ hn
Date Jacobsrael Walden
Defendant

For Defendant’s Counsel to read and acknowledge:

I certify that I have reviewed this application and the attached order carefully with my
client. I further certify that I have discussed with my client a defendant’s right to speedy
indictment and the question of whether to consent to entry of an order of excludable delay. I
am satisfied that my client understands the contents of this application and the attached

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order, that my client consents to the entry of the order voluntarily and of hisr her own free
will, and that my client has not been threatened or coerced4or coms
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—Counsel for De

ORDER OF EXCLUDABLE DELAY

Upon the joint application of the United States of America and defendant,
Jacob Israel Walden , and with the express written consent of the defendant, the time
period 08/15/2024 to 10/15/2024 _is hereby excluded in computing the time
within which an information or indictment must be filed, as the Court finds that this
exclusion of time serves the ends of justice and outweighs the best interests of the public and
the defendant in a speedy trial because

given the reasonable likelihood that ongoing plea negotiations will result in a
disposition of this case without trial, the exclusion of time will allow all counsel to focus
their efforts on plea negotiations without the risk that they would be denied the reasonable
time necessary for effective preparation for trial, taking into account the exercise of due
diligence.

O additional time is needed to prepare for trial due to the complexity of case.

C] other:

SO ORDERED.

Dated: Brooklyn, New York

August16 20 24 Hon. P¢ggyAKuo
United States Magistrate Judge

